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                                             UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            |            Case No. 1:22-CR-00110-RC
                                    |            Hon. Rudolph Contreras
v.                                  |
                                    |
MATTHEW THOMAS KROL,                |
                                    |
      Defendant.                    |
____________________________________|_________________________________________

Michael J Cronkright (P52671)                                                      Andrew Tessman
Attorney for Matthew Thomas Krol                                                   United States Attorney’s Office
4601 W. Saginaw, Ste. J2A                                                          555 4th Street NW
Lansing, MI 48917                                                                  Washington, D.C. 20001
Phone: (517) 719-4401                                                              Phone: (202) 256-2397
Fax: (517) 913-6123                                                                Andrew.Tessman@usdoj.gov
Michael@Cronkrightlaw.com



     DEFENDANT MATTHEW KROL’S MOTIONS TO REVOKE DETENTION ORDER
                   AND REOPEN DETENTION HEARING

       NOW COMES, Matthew Thomas Krol, by and through his Attorney Michael J Cronkright,
and moves this Honorable Court to revoke the current detention order and reopen the Detention
Hearing.

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                                     I.      INTRODUCTION

        Matthew Thomas Krol, by and through his counsel, Michael J. Cronkright, respectfully

moves this Court to revoke the prior detention order. Defendant requests an evidentiary hearing to

explore the facts and issues raised herein. Defendant asserts that he is neither a flight risk nor

danger to the community. Further, Matthew Thomas Krol respectfully requests that he be released

on personal recognizance or, in the alternative, to release him into the third-party custody of his

wife and commit him to the supervision of a High Intensity Supervision Program (HISP) or

consider other conditions of release as discussed infra.

                         II.     MATTHEW KROL’S BACKGROUND

        Mr. Krol is a 64-year-old natural born American citizen. He was born in Detroit, Michigan,

in 1958. His parents divorced when he was 15-years-old. Family tensions led to some adolescent

behavioral issues, which he had to work through. Nonetheless, Mr. Krol’s history of supporting

others can be traced back to this period of life as well. He dropped out of school in the 10th grade

in order to financially assist his mother with household expenses. Mr. Krol secured a job in

construction as a mason tender; a skill and career he has since maintained.

        At 19-years-old, he decided to join the United States Marine Corps. After just three weeks

of basic training, Mr. Krol began experiencing health problems, which made it difficult to continue

basic training and he was then honorably discharged. Following his discharge from the U.S.

Marine Corps, Mr. Krol developed a substance abuse problem. His use of drugs and alcohol led to

spending 40 days in the Oakland, Michigan County Jail. Shortly after being released from jail, Mr.

Krol dedicated his life to Christ. As a result, at age 22, his life changed for the better. Mr. Krol has

stated that he started to grow in his faith and developed close friendships with other Christians,

which is heavily evidenced in the letters of support Mr. Krol received from family and friends.




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          Through his friendship with fellow Christians, Mr. Krol was introduced to missionary work

where he used his carpentry skills to help rebuild communities after natural disasters. This included

disaster recovery work in the United States and around the world. Mr. Krol’s first mission trip was

a 10-day trip to Haiti, West Indies. While there, he participated in building a medical clinic in a

remote village. This 10-day trip had such an impact on Mr. Krol’s life that when he returned to the

United States, he sold his possessions and returned to Haiti for approximately one year, working

as a missionary and utilizing his carpentry skills. This trip ended after Mr. Krol became ill and

needed medical treatment in the states. Mr. Krol did not let the illness that sent him home from

Haiti deter his foreign missionary efforts. He became a field representative with Global Missionary

Alliance. This position led to service opportunities in Haiti, Jamaica, Mexico, Guatemala, and

Belize on a number of occasions.

          In 1992, Hurricane Andrew hit. It was a very powerful and destructive Category 5 Atlantic

hurricane that struck the Bahamas, Florida, and Louisiana. It was the most destructive hurricane

to ever hit Florida in terms of structures damaged or destroyed, and remained the costliest in

financial terms until Hurricane Irma surpassed it 25 years later.1 Mr. Krol felt compelled to assist

in the disaster relief efforts after Hurricane Andrew destroyed more than 63,500 homes, damaged

more than 124,000 others, caused $27.3 billion in damage, and left 65 people dead.2 He put

together a small team of men with tools and generators who helped with disaster relief in any way

they could. Upon his arrival in Florida, and witnessing the devastation firsthand, Mr. Krol and his

wife Lisa decided to move to Florida on a short-term basis to help with re-construction efforts.




1
    Hurricane Andrew - Wikipedia
2
    Hurricane Andrew - Wikipedia


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         Mr. Krol founded an organization called Blue Skies Global Disaster. Through this

organization, Mr. Krol traveled to Panama City, Florida, to participate in relief efforts after

Hurricane Ivan3.

         Mr. Krol’s extensive disaster relief experience resulted in him becoming certified in

Community Emergency Response Teams (C.E.R.T.) and he also became a Federal Emergency

Management Agency (FEMA) C.E.R.T instructor. The Community Emergency Response Team

(C.E.R.T) program educates volunteers about disaster preparedness for the hazards that may

impact their area and trains them in basic disaster response skills, such as fire safety, light search

and rescue, team organization, and disaster medical operations.4 Mr. Krol traveled to various cities

across the United States teaching and training individuals about basic disaster response skills.

         Mr. Krol became involved in the Flint Water Crisis and delivered clean, bottled drinking

water to the residents of Flint. This was a public health crisis which was devastating to Flint’s

population and ultimately led to many of its children being subjected to lead poisoning.5 Mr. Krol

worked alongside the American Red Cross daily, taking clean water into neighborhoods in need.

Garnet and Deborah Elliot have been friends with Mr. Krol for 10 years and state that “Matthew

was deeply concerned for the people of the city of Flint, Michigan when the water crisis was going

on. He delivered water to the people in need during that time, once again showing his love for

humankind.” Jerome Barry III describes Mr. Krol as being involved in “bringing large amounts of

bottled water and distributing them to local citizens. Matt worked at this for many months.”




3
  Ivan made landfall in the Gulf states in September of 2004.
4
  Community Emergency Response Team | Ready.gov
5
  https://www.britannica.com/event/Flint-water-crisis



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       His involvement in the Flint Water Crisis led to Mr. Krol deciding to run for Sheriff in

2016 due to his desire and passion for helping others. Having no law enforcement background,

Mr. Krol did not win, but he is proud that he managed to garner 40% of the vote.

       Mr. Krol eventually decided to settle in Fenton, Michigan, with his wife, Lisa Krol. Lisa

and Matt have been married since 1984. Together, Mr. Krol and his wife have built a beautiful

family consisting of three children and two grandchildren. One of their grandchildren lived next

door with his mother (Mr. and Mrs. Krol’s daughter.) Mr. Krol and his wife assisted in the care of

their 4-year-old grandchild. Their grandchild misses him dearly and refers to “Papa Matt” as being

his best friend. Mr. Krol’s absence in his grandchild’s life has been difficult as the child has no

other father figure in his life. He depends on Papa Matt to take him fishing, to provide guidance,

and to simply be there.

                                   POST JANUARY 6TH HISTORY

       Mr. Krol is a well-known and respected fixture of his community. In the 12 months

following January 6th, 2021, Mr. Krol did not engage in any acts of violence against any person or

government entity. Mr. Krol returned to his loving family and continued his typical life—helping

those around him, caring for his grandson, attending church, and living a quiet, peaceful life.

       During this period of time, Mr. Krol travelled enough to be aware that he had been placed

on a watch list. He was arrested 13 months after January 6th, 2021, and he was stopped several

times by TSA and border patrol yet never acted in a violent or aggressive way to these government

employees. In one instance Mr. Krol and various family members had attended a family wedding

in Mexico. Upon their return to the United States, the entire group was detained at gunpoint,

handcuffed, and interrogated. Mr. Krol was annoyed and thought this was shocking and unfair to

his family. And yet, he cooperated and complied. The border patrol officers reported to the FBI




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that Mr. Krol was “compliant, respectful, and courteous.”6 This information was available to the

Government at the first detention hearing but was not relayed to the Court. In the same manner,

Mr. Krol was compliant with the arresting officers on February 22, 2022. Prior to his arrest, the

government engaged in a significant surveillance effort with numerous officers. This included

extensive stake-out activity and aerial surveillance. As a result, we have considerable knowledge

of Mr. Krol’s daily activities, including walking to the mailbox and putting his trash out. What is

missing from this extensive surveillance is any indication that Mr. Krol had a propensity to violent

or aggressive activity in the post January 6th period.

                                         PARTIAL MEDICAL HISTORY

         Mr. Krol has a lengthy medical history, and it is summarized here. He came into detention

with serious cardiac conditions which have worsened over time, requiring emergency intervention.

Mr. Krol’s diagnostic history consists of atrial fibrillation, coronary artery disease (CAD),

congestive heart failure (CHF), and hypertension. In September 2021, Mr. Krol was initially

diagnosed with heart failure and in October 2021, during a pre-operation workup regarding his

knee, Mr. Krol was found to have atrial fibrillation (AF) and left bundle branch block (LBBB) on

an echocardiogram. This discovery led to a thorough cardiologic evaluation. To manage these

conditions, Mr. Krol wore a Zoll LifeVest which “is a personal defibrillator worn by a patient at

risk for sudden cardiac arrest (SCA). It monitors the patient's heart continuously, and if the patient

goes into a life-threatening arrhythmia, the LifeVest delivers a shock treatment to restore the

patient's heart to normal rhythm.”7 Mr. Krol was scheduled to have a cardiac resynchronization

therapy (CRT) device on May 6th, 2022. The Zoll LifeVest readings plainly show that Mr. Krol

flatlined on numerous occasions. (Exhibit A)



6
    Case Specific Discovery Document 266t-DE-3443278 Serial 36 page 3 of 3) (Exhibit O)
7
    LifeVest for Sudden Cardiac Arrest (clevelandclinic.org)


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         On March 25th, 2022, Mr. Krol was brought to UVA University Hospital East at 3:36PM as

an emergency admission. An echocardiogram was preformed and was determined to be abnormal.

An interpretation of the ECG states there is a sinus bradycardia and LBBB. “Sinus bradycardia is

a heart rhythm where your heart beats slower than expected (under 60 beats per minute for adults)

but otherwise works normally.”8 Mr. Krol was discharged on March 26th, 2022, at 2:34PM. Mr.

Krol attended an appointment at the UVA Health Cardiac Electrophysiology Clinic on April 19th,

2022, accompanied by prison guards, for Atrial Fibrillation and dizziness. The doctor discussed

with Mr. Krol the use of Amiodarone, which is effective in over 50% of patients in preventing

recurrent AF and can help to reduce ventricular tachycardia. The doctor further referred Mr. Krol

to the UVA Health heart failure team for nonischemic cardiomyopathy. Lastly, the doctor

recommended that Mr. Krol pursue a cardiac resynchronization therapy (CRT) device as soon as

possible to give his heart failure the soonest possibility of improvement. The following day on

April 20th, 2022, at approximately 7:47PM, Mr. Krol was brought to UVA University Hospital

East as an emergency admission. On April 22nd, 2022, Mr. Krol had a pacemaker implanted and

was discharged the following day on April 23rd, 2022, at 3:28PM. At the time of this writing, Mr.

Krol has just had an additional procedure which was necessary to explore the extent of the scar

tissue in his heart. Results are not yet available.

           Mr. Krol’s doctors have recommended that he participate in a sleep study for a potential

sleep apnea diagnosis. His incarceration has precluded any medical investigation into this potential

diagnosis. He continues to have some of the same symptoms that sent him to the emergency room.

His ongoing medical issues relating to his heart are cause for great concern.




8
    https://my.clevelandclinic.org/health/diseases/22473-sinus-bradycardia


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                 III.   FACTUAL HISTORY & PROCEDURAL HISTORY

       Defendant was arrested on or about February 22, 2022. The parties appeared before United

States Magistrate Judge Curtis Ivy, Jr. for a pre-trial detention hearing in Michigan’s Eastern

District. The Government filed its motion in support of pretrial detention on February 27, 2022.

United States v. Krol, 1:21-mj-00689-ABJ (ED. Mich. 2022). Due to time constraints, Defendant’s

appointed counsel did not file a response. That hearing resulted in an Order of Detention dated

February 28, 2022. The detention hearing was held pursuant to 18 U.S.C. § 3142(f). The Court

specifically considered the four factors enumerated in 18 U.S.C. §3142(g) and the “Chrestman

Factors.” See United States v. Chrestman, 525 F. Supp 3d 14, 23-27 (D.D.C. 2021). The magistrate

judge concluded that “no conditions or combination of conditions can reasonably guarantee the

safety of the community.” Order of Detention @ 6. Without the benefit of a well-developed record,

the Court failed to adequately consider a less restrictive condition or combination of conditions

that would reasonably assure the appearance of Defendant as required and assure the safety of any

other persons and the community. 18 U.S.C. §3142 (c)(1)(B).

       After the detention order, Mr. Krol was transferred to his current facility, the Central

Virginia Regional Jail in Orange, Virginia. Placement at this facility creates a considerable

challenge to Mr. Krol’s participation in the preparation of his defense. The facility does not allow

inmates access to any electronic devices. While the Government has provided access to counsel

for both case-specific and global discovery, there is no ability to send any of the digital media into

the facility. The undersigned has visited the jail on several occasions and reviewed video from the

case specific discovery. However, the benefit of that process is limited. The court is no doubt aware

that there are thousands of hours of video in the possession of the government. In other January

6th cases, Defendants have the ability to review that evidence and lend reasonable assistance to

counsel in the preparation of their case. Defending a criminal case is intended to be a collaboration


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between the client and the attorney. Mr. Krol does not have access to the evidence and thus the

defense is hampered.

                                IV.    MEMORANDUM OF LAW

18 USC 3142(f) provides in pertinent part:

                The hearing may be reopened, before or after a determination by the
                judicial officer, at any time before trial if the judicial officer finds
                that information exists that was not known to the movant at the time
                of the hearing and that has a material bearing on the issue whether
                there are conditions of release that will reasonably assure the
                appearance of such person as required and the safety of any other
                person and the community.

        If a person is ordered detained by a magistrate judge, or by a person other than a judge of

a court having original jurisdiction over the offense and other than a federal appellate court, the

person may file, with the court having original jurisdiction over the offense, a motion for

revocation or amendment of the order. § 3145(b). The district court reviews a magistrate judge’s

detention order de novo to determine whether there are conditions of release that will reasonably

assure the safety of any other person and the community. E.g., United States v. Sheffield, 799 F.

Supp. 2d 18, 20 (D.D.C. 2011). The district court may hear additional evidence not presented at

the initial detention hearing. Id.

    Pursuant to the Bail Reform Act, 18 U.S.C. § 3141, a defendant must be released pending trial

unless it is determined that no condition or combination of conditions exist which will reasonably

assure his appearance as required or the safety of the community. 18 U.S.C. § 3142(c). “In common

parlance, the relevant inquiry is whether the defendant is a ‘flight risk’ or a ‘danger to the

community.’” United States v. Munchel, 991 F.3d 1273, 1279 (D.C. Cir. 2021) (quoting United

States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019)).

    If the rebuttable presumption under 18 U.S.C. § 3142(e)(2) does not apply, then with regard to

the risk of flight analysis as a basis for detention, the government must prove by a preponderance


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of the evidence that no combination of conditions will reasonably assure the defendant’s presence

during future court proceedings.9 When the basis for pretrial detention is the defendant's danger to

the community, the government is required to demonstrate the appropriateness of detention

pursuant to subsection (e) by clear and convincing evidence. 18 U.S.C. § 3142(f). Short of that,

the Court is generally required to release the defendant “subject to the least restrictive condition

or combination of conditions” to achieve these goals. Id. The factors that must be considered in

assessing the defendant’s future dangerousness are laid out in § 3142(g) of the Bail Reform Act

as: (1) the nature and circumstances of the offense charged, including whether the offense is a

crime of violence; (2) the weight of the evidence against the person; (3) the history and

characteristics of the person; and (4) the nature and seriousness of the danger to any person or the

community that would be posed by his release.10

    In United States v. Chrestman, Chief Judge Howell outlined six factors to be considered in

assessing the nature and circumstances of January 6, 2021, related offenses, including whether a

defendant: (1) has been charged with misdemeanors or felonies; (2) engaged in prior planning

before arriving at the Capitol, for example by obtaining weapons or tactical gear; (3) carried or

used a dangerous weapon, be it a firearm, large pipe, wooden club, or other offensive use

instrument; (4) coordinate with participants before, during, or after the riot; (5) assumed either a

formal or de facto leadership role by encouraging other rioters misconduct; (6) the nature of the

defendant’s words and movements during the riot.11




9
  See United States v. Xulam, 318 U.S. App. D.C. 1, 84 F.3d 441, 442 (1996) (citing United States v. Simpkins, 826
F.2d 94, 96 (D.C. Cir. 1987)) (explaining that a finding must be based on clear and convincing evidence that the
defendant poses a danger to the community or a preponderance of the evidence to support the defendant’s likelihood
to flee).
10
   18 U.S.C. § 3142(g); see also Munchel, 991 F.3d at 1279–80; United States v. Smith, 79 F.3d 1208, 1209 (D.C. Cir.
1996).
11
   United States v. Chrestman, No. 21-mj-218, 2021 (D.D.C. 2021).


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    Regarding whether a defendant presents a clearly identifiable and articulable future threat to

the community the Court must consider, in light of all evidence, whether a defendant charged with

felonies involving the possession of dangerous weapons at the U.S. Capitol on January 6, 2021,

presents a clearly identifiable and articulable future threat to the community. Thus, a defendant’s

detention based on dangerousness accords with due process only to the extent that the Court

determines that the defendant’s history, characteristics, and alleged criminal conduct make clear

that he or she poses a concrete, prospective threat to public safety. United States v. Munchel, 991

F.3d 1273 (DC Cir. 2021).

    Additionally, in making an individualized assessment of dangerousness, the court must

consider whether the defendant has prior felony convictions, ties to extremist organizations, and

whether his post January 6th related behavior presents an articulable threat to the community, in

light of evidence that a defendant did not commit illegal acts of violence or did not participate in

planning / coordinating a January 6th related attack on the U.S. Capitol. United States v. Tanios,

856 Fed. Appx. 325 (D.C. Cir. 2021).

        “To justify detention on the basis of dangerousness, the government must prove by ‘clear

and convincing evidence’ that ‘no condition or combination of conditions will reasonably assure

the safety of any other person and the community.’” United States v. Munchel, 991 F.3d 1273,

1280 (D.C. Cir. 2021) (citing § 3142(f)). The government must show that the arrestee presents “an

identified and articulable threat.” Id. (internal citation omitted). The assessment is not a

“backward-looking assessment of the rioters or the riot” but a “forward-looking assessment” of

whether the defendant will make good on the “articulable threat” in the future. Id. at 1285. In

addition, after a person has been detained, “The judicial officer may, by subsequent order, permit

the temporary release of the person . . . to the extent that the judicial officer determines such release




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to be necessary for the preparation of the person’s defense or for another compelling reason.” 18

U.S.C. § 3142(i).

                                       V.     ARGUMENT

                     A.   WEIGHT OF EVIDENCE AGAINST THE DEFENDANT

       The Bail Reform Act […] instituted dangerousness as a basis for detention. United States

v. LaFontaine, 210 F.3d 125, 134 (2d Cir.2000); see also United States v. Dono, 275 Fed.Appx.

35, 38 (2d Cir.2008) (unpublished opinion); (“[P]retrial detention was the means chosen by

Congress in the Bail Reform Act to protect the community from dangerous defendants.”) United

States v. Jimenez, 104 F.3d 354 (2d Cir.1996). When detention is based wholly or in part on a

determination of dangerousness, such finding must be supported by clear and convincing evidence.

18 U.S.C. § 3142(f)(2)(B); see also United States v. Ferranti, 66 F.3d 540, 542 (2d

Cir.1995); United States v. Rodriguez, 950 F.2d 85, 88 (2d Cir.1991); United States v. Karper, 847

F. Supp. 2d 350, 355 (N.D.N.Y. 2011). The weight-of-the-evidence factor “goes to the weight of

the evidence of dangerousness, not the weight of the evidence of the defendant's guilt.” United

States v. Marcrum, 953 F. Supp. 2d 877, 883 (W.D. Tenn. 2013), aff'd (Nov. 1, 2013)(Internal

citation omitted).

       While the evidence against Mr. Krol is substantial, it does not compel us to conclude that

he is a danger to the community going forward. The Government employs a selective view of the

evidence to create their own narrative regarding Mr. Krol’s alleged dangerousness, without

assessing the totality of the circumstances. Unless the Government shows the defendant to be a

flight risk by a preponderance of the evidence, or that he poses a continuing danger to a

particularized person or community by clear and convincing evidence, and that no conditions can

mitigate the alleged risks, the Act requires pretrial release. 18 U.S.C. 3141.




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        It is often stated that the best predictor of future behavior is past behavior. In this case, it

is instructive to look at Mr. Krol’s extensive history before and after the events of January 6th . As

has been demonstrated herein, Mr. Krol’s life has been and will be a life of non-violent and positive

interactions with his community. Even his behavior on January 6, 2021, is unobjectionable to the

Government, with the exception of events that substantially occurred in less than one minute12. It

is, of course, appropriate for the Court to consider what occurred in that minute. The Government

has argued and will argue that Mr. Krol had one of the most violent interactions with law

enforcement officers on January 6. This is clearly an unfair assessment given the severity of other

events and other defendant’s behaviors. Nonetheless, there is a more compelling analysis than

comparing Mr. Krol to other January 6th defendants. In fact, it is significantly more compelling to

compare the 36 seconds of aggressive behavior alleged by the government to the 64 years of non-

violent behavior evidenced in Mr. Krol’s lifetime.

        Mr. Krol was unarmed upon his arrival at the U.S. Capitol, and his behavior was non-

violent until he perceived others on the ground being struck by excessive police force. This

observation led to a 36 second outburst. He did not maintain possession of the baton or use it

further after the outburst.



                B.       HISTORY AND CHARACTERISTICS OF THE DEFENDANT

        In considering [Krol]'s history and characteristics, the Court must “take into account the

available information concerning” [Krol]'s “character, physical and mental condition, family ties,

employment, financial resources, length of residence in the community, community ties, past

conduct, history relating to drug or alcohol abuse, criminal history, and record concerning


12
  Subject to further review, the allegations of assault are all based on activity that occurred in approximately 36
seconds of atypical action by Mr. Krol.


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appearance at court proceedings.” 18 U.S.C. § 3142(g)(3)(A). United States v. Klein, 539 F. Supp.

3d 145, 154 (D.D.C. 2021) “[T]he ten specific sub-factors reviewed immediately [below] relate to

the general history and characteristics of the particular defendant. United States v. Chrestman, 521

F. Supp. 3d 1107, 1116 (D. Kan.), review granted, judgment rev'd, 525 F. Supp. 3d 14 (D.D.C.

2021)

                                     1. The Defendant’s Character

        Matthew Krol is an American citizen who was born in this country and had some contact

with the criminal justice system during his youth, but quickly turned his life around when he found

God. The alleged offenses are an anomaly in Mr. Krol’s otherwise law-abiding life unlike other

individuals associated with the January 6, 2021 events.

        The undersigned received twelve letters from family and friends of Mr. Krol, each

describing him with astounding similarity in regard to his character. The family and friends who

wrote these letters are especially qualified to discuss his character due to the longevity of their

relationships with Mr. Krol, which ranges from 10 years to 50 years. These are peers of Mr. Krol

who know him especially well and can speak to the man he is on a day-to-day basis and can also

attest to just how out of character his actions on January 6th were. These letters detail Mr. Krol’s

loyalty, selflessness, devotion to helping others, and dedication to his loved ones. Throughout these

letters we can see that the effect Mr. Krol has on those around him is positive and beneficial.

Cumulatively, the letters establish Mr. Krol’s character traits of peacefulness, selflessness, and an

eagerness to help others in need.

        Ralph McKay is Mr. Krol’s brother-in-law. Mr. McKay states that “I always know if I am

in need of anything, Matt would be the first person I would call. He has come to my rescue if I am

in need of help on a construction project at my house or flat tire on the side of the road or flooding




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in our basement. Matt is the type of person that would not only do these things for my family but

also a total stranger that was in need of help.” (Exhibit B)

       Jerome Barry III has known Mr. Krol for close to 38 years. Mr. Barry states that Mr. Krol

“is one of the rare individuals that will drop whatever he is doing to help others.” He further

asserted that “anyone who knows Matt knows his love of people and his willingness to help and

share.” (Exhibit C)

       Garnet and Deborah Elliot have been friends of Mr. Krol for 10 years and gushed about

Mr. Krol’s character in their letter. They stated that “[n]ever once has Matthew intimidated anyone

in our presence. It is obvious he values people of all races, and positions, and their rights. He

employed people while he worked for us that could not find a job otherwise, training them in

valuable life and work skills.” They further described Mr. Krol as honest and trustworthy and went

as far as to say that “[h]e is one of the kindest, and most open-hearted people we have ever known.”

(Exhibit D)

       Mary Turner adds that Mr. Krol “is a man who has a deep passion for helping others, and

always has.” (Exhibit E)

                                         Spiritual History

       Mr. Krol had a troubled beginning, starting when his parent’s divorced when he was 15

years old. He dropped out of school in the 10th grade in order to help his mother with household

expenses. At 19-years-old, Mr. Krol enlisted in the Marine Corps, but was honorably discharged

shortly after for medical reasons. After his discharge, Mr. Krol began struggling with drugs and

alcohol, which led to spending 40 days in the Oakland County Jail. After his release, Mr. Krol

became a Christian and it changed his life for the better.

       Reverend Timothy J. Thomas first met Mr. Krol shortly after Mr. Krol became a Christian

and noted that Mr. Krol was determined to change his life. Reverend Thomas states that “God was


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changing him from the inside and was making him a new, God-honoring person.” Reverend

Thomas considers Mr. Krol to be “very successful as a Christian and as a citizen.” He further

remarks that “[t]he changes in his life were instant and have continued over the years.” (Exhibit

F)

       Denise McKay, Mr. Krol’s sister-in-law, confesses that “the main thing [she has] always

respected about Matt is his love for God and how he puts his family first. (Exhibit G)


       Steve Adams and Mr. Krol have been friends for the better part of 20 years. He believes

that the core of Mr. Krol’s character is “his love of Christ and his devotion to our country. Those

two things drive his every fiber to be a great father, husband, friend, and citizen. They are his

foundation and everything he does transcends from there.” He further contends that “Matt is a

kind, generous, and thoughtful person to everyone in his life. His experiences in his life have been

fraught with many challenges, however, none have kept from doing what is right in the eyes of the

Lord and that of our Constitution.” (Exhibit H)

                                     Disaster Relief Support

       As stated, Mr. Krol has a long history of giving back to the community and aiding others

in need. Mary Turner writes, “My initial thought about Matt is that he is always quick to help

others. When natural disasters occurred, he was the first to volunteer for clean-up and assistance

needed from Hurricane Katrina, the disaster in Oklahoma and various other states. He also did

short-term volunteer mission trips to Haiti multiple times to help build homes for the orphans and

those displaced after several devastating storms.” (Exhibit E)

       Pastor Jason McKay adds that Mr. Krol “has a heart for global missions. I know that each

time we have talked about missions or missionary trips that he has been on, he has had tears in his

eyes. Matt has a heart for the Lord.” (Exhibit I)



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       Phil Cenzer, a friend of Mr. Krol for 40 years, reported that “Matt has always been a man

who acts when he sees where he can be of help. He has helped many in his sphere with his skills

as a carpenter and repair person. He has traveled to Haiti several times to assist hurting people

with God’s love and a helping hand. I traveled with him on one of these trips. Matt was the lead

builder on this mission. Our team built a medical dispensary in a very remote area.” (Exhibit J)

       Jerome Barry III has “seen Matt drop everything many times over the last 40 years to go

and provide relief in natural disaster events – from hurricanes, tornados, floods, tsunamis, etc.,

both in the United States and also in many relief trips to other countries. I specifically remember

him doing relief work in Haiti on more than one occasion.” (Exhibit C)

       Mr. Krol’s brother-in-law, Ralph McKay, states that he has “known Matt to have gone on

mission trips around the world to help those in need with construction projects or humanitarian

projects such as hurricane relief work and medical help. I personally went with Matt to Florida for

Hurricane Andrew relief work in 1992. He took off work as a self-employed carpenter for over

two months to help those in need in Florida. If Matt committed to saying he would help, he was

always a man faithful to his word and a man of integrity.” (Exhibit B)

                                       Flint Water Crisis

       As video footage from the government supports, Mr. Krol was active in assisting in the

Flint Water Crisis. He collaborated with the American Red Cross nearly daily taking clean water

into neighborhoods that needed clean drinking water.

       Garnet and Deborah Elliot state that “Matthew was deeply concerned for the people of the

city of Flint, Michigan when the water crisis was going on. He delivered water to the people in

need during that time, once again showing his love for humankind.” (Exhibit D)

       Jerome Barry III describes Mr. Krol as being involved in “bringing large amounts of bottled

water and distributing them to local citizens. Matt worked at this for many months.” (Exhibit C)


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                                            Patriotism

       Mr. Krol is described by many who know him well as a patriot. In today’s politically

charged world, this characterization can have a negative connotation. Yet, in regard to Mr. Krol,

it should not be construed in a negative sense. Mr. Krol is especially interested in American history

and has a reverence for our founding documents. He was inspired by his uncle at an early age to

be both patriotic and well-versed in history. He grew to adulthood having been taught to love his

country.

       Jerome Barry III confirms that “[a]nyone who knows Matt also knows his love for the

USA. Matt is and always has been very patriotic. Matt is vocal about his fervent beliefs in the

goodness and excellence of the United States of America and the principles and ordinances of the

founding documents of the USA…Matt is and has been an ardent and active participant in

promotion of our US Constitution…” (Exhibit C)

       These letters demonstrate the significant impact Mr. Krol has had on the lives of those

close to him, and the lives of so many others through his disaster relief work and assistance with

the Flint Water Crisis.

                          2. The Defendant’s Mental and Physical Condition

      As indicated above, Mr. Krol’s past medical diagnostic history consists of atrial fibrillation,

coronary artery disease (CAD), congestive heart failure (CHF), and hypertension. In September

2021, Mr. Krol was initially diagnosed with heart failure and in October 2021, during a pre-

operation workup regarding his knee, Mr. Krol was found to have atrial fibrillation (AF) and left

bundle branch block (LBBB) on an echocardiogram which resulted in a thorough cardiologic

evaluation. He has no mental health issues an no history of mental health issues. His health

conditions cause concerns related to his detention. The current facility he is being held at is

believed generally to be a good choice due to its proximity to health care services. And yet, there


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are ongoing concerns. Mr. Krol has flat lined at the facility, and, at one point, the staff was non-

responsive to medical needs. It has been reported that other inmates were aware that he had

collapsed on the floor and were unable to get the attention of guards or staff. The best environment

for him while he works through his cardiac issues would be home with his wife and in close

proximity to his adult daughter. Anyone who has gone through heart issues can appreciate the need

for family support in dealing with the recovery.

                                    3. The Defendant’s Family Ties

       Matthew and Lisa Krol have been married for 38 years and have built a beautiful family

made up of three children and two grandchildren, one of which they assisted in raising. The

grandchild they assisted in raising is now four years old and proclaims that “Papa Matt” is his best

friend. Family of Mr. Krol continuously state throughout their letters that he is a faithful husband,

father, grandfather, and friend. In July of 2022, Mr. Krol’s daughter and grandson moved to

Florida, and he was unable to be there to help in the moving process or to even say goodbye. His

family members have continued to support him during confinement, maintaining regular

communication to the extent that it is available.

       Mr. Krol’s sister-in-law, Denise McKay, writes “the main thing that I have always

respected about Matt is his love for God and how he puts his family first.” She further asserts that

she knows “Matt to be an honest, principled, God-fearing man who loves his wife more than

anything in the world and is likely praying for her more than himself right now.” (Exhibit G)

       Ralph McKay asserts that Mr. Krol is a “man who loves God and his family above anything

else. He has strong family values and continues to be a loving husband to my sister for almost 38

years. Mr. McKay further states that Mr. Krol “truly exhibits the Golden Rule of treating others as

you would want to be treated. I am blessed to call him my brother and my friend and miss him

greatly.” (Exhibit B)


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       Mr. Krol’s sister-in-law, Melanie McKay, writes that “Matt has always been someone I

can go to if I need help with something or just to talk. ... He always wants to bless us in any way

he can. Time and time again Matt has gone beyond what is needed, he is very selfless and has a

heart of gold for not only us but our kids and grandchildren. Everyone loves their Uncle Matt. He

loves helping people in general.” (Exhibit K)

       James O’Brien and Mr. Krol have been friends for over fifty years. He states that Mr. Krol

has a ubiquitous devotion to family and friends that is both reliable and unwavering. He further

states that neither “time nor distance impacts the shared love and respect we have for each other

and our families.” (Exhibit L)

       Mary Turner, who has known Mr. Krol for 43 years, writes that “Matt has always been

known as a loving husband and father, as well as now a loving grandfather… The three children

Matt and Lisa raised are beautiful, independent, and happy adults who remain very close to their

parents. Their love and respect for Matt and Lisa has always been apparent to any who spent time

with them.” (Exhibit E)

                              4. The Defendant’s Employment Situation

       Mr. Krol has been substantially unemployed and receiving partial-disability for

approximately the last 8 years. Mr. Krol does some limited contracting work for people in his

community on an irregular basis. Despite his health problems, he continues to have a willingness

to help people in need with his carpentry skills.

                                 5. The Defendant’s Financial Resources

       Mrs. Krol is employed part time as a cosmetologist usually working two 8 to 10-hour days

a week earning only approximately $400 per week. Mr. Krol is awarded $900.00 per month for

partial disability. This means their approximate income is currently $2,100.00 to cover their rent




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and other monthly bills. Mrs. Krol has stated that she is losing sleep over the stress of not only her

current financial situation, but over everything as a whole.

         6. The Defendant’s Length of Residence in the Community and Community Ties

       Mr. Krol is a fixture of his community. The undersigned received twelve letters from

family and friends describing Mr. Krol as devoted to bettering, not only his own community, but

others as well. He was heavily involved in the Flint Water Crisis and provided water to Flint

residents.

       Pastor Jason McKay is Mr. Krol’s brother-in-law and has known Mr. Krol for

approximately 40 years. Pastor McKay states that Mr. Krol “is your typical small-town guy that

everyone knows and loves. Matt invests into his community and has lived locally in the

Fenton/Linden area for about 40 years. Matt and Lisa live a humble, small-town life, making a

humble small living and living in a humble small apartment but they are happy.” (Exhibit I)


       Kennard Van Camp was a pastor of a church that Mr. Krol and his family attended and

have known each other for 42 years. Mr. Van Camp states “Matt has been a productive member

of society. He is a hard worker. He is also involved with the community. As a member of our

church, he took responsibility for the people who came and needed help, whether it was a job or

support.” (Exhibit M)

                                   7. The Defendant’s Past Conduct

       Mr. Krol’s prior conduct will reveal a limited criminal history from his youth that Mr. Krol

has not shied away from. Mr. Krol has repeatedly maintained that his life was changed after

spending 40 days in the Oakland County Jail. Mr. Krol does not and has not had a propensity for

violence.




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               8. The Defendant’s History, if any, Relating to Drug or Alcohol Abuse

        Mr. Krol suffered with drugs and alcohol after being honorably discharged from the Marine

Corps due to medical issues. Due to his use of drugs and alcohol, he spent 40 days in the Oakland

County Jail. Shortly after his release, at 22-years-old, Mr. Krol dedicated his life to the Lord, and

he has successfully closed that chapter of his life. His devotion to the church led to his involvement

in missionary work where he was able to utilize his carpentry skills. Mr. Krol has not had any

issues with drugs or alcohol since committing himself to the Lord.


                                     9. The Defendant’s Criminal History

        Aside from spending 40 days in the Oakland County Jail for drug and alcohol related

offenses, Mr. Krol has remained a law-abiding citizen. Mr. Krol’s brother-in-law, Pastor Jason

McKay, states from personal knowledge that Mr. Krol “has not been in trouble with the law. It is

just not in his character.” (Exhibit I)

        In fact, Mr. Krol has participated with law enforcement in a volunteer capacity. Jerome

Barry III asserts that “Matt knows many of [the] local deputies and has maintained a positive

relationship with law enforcement officers that he knows.” (Exhibit C)


             10. The Defendant’s Record Concerning Appearance at Court Proceedings

        It follows from the defendant's lack of significant criminal history that there is no

demonstrated record of failing to appear as required for criminal cases.


                                C.        DANGER TO THE COMMUNITY

    “The final factor that the Court must consider is “the nature and seriousness of the danger to

any person or the community that would be posed by the defendant's release.” 18 U.S.C. § 3142(g).

To assess a defendant's dangerousness, the court must “take into account the available



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information” concerning four statutory factors: (1) “the nature and circumstances of the offense

charged,” (2) “the weight of the evidence against the person,” (3) “the history and characteristics

of the person,” and (4) “the nature and seriousness of the danger to any person or the community

that would be posed by the person's release.” 18 U.S.C. § 3142(g)(1)–(4). United States v. Klein,

533 F. Supp. 3d 1, 8 (D.D.C. 2021)

   “Consideration of this factor encompasses much of the analysis set forth above, but it is broader

in scope,” requiring an “open-ended assessment of the ‘seriousness’ of the risk to public

safety.” United States v. Taylor, 289 F. Supp. 3d 55 at 70 (D.D.C. 2018). In making that

assessment, the Court may consider all relevant indicia of risk to the community, including

evidence that would not be admissible at trial. Id. Because this factor substantially overlaps with

the ultimate question of whether any conditions of release “will reasonably assure ... the safety of

any other person and the community,” 18 U.S.C. § 3142(e), “it bears heavily on the Court's

analysis.” United States v. Klein, 539 F. Supp. 3d 145, 155 (D.D.C. 2021).

   “To justify detention on the basis of dangerousness, the government must prove by “clear and

convincing evidence” that “no condition or combination of conditions will reasonably assure the

safety of any other person and the community.” Id. § 3142(f). Thus, a defendant's detention based

on dangerousness accords with due process only as far as the district court determines that the

defendant's history, characteristics, and alleged criminal conduct make clear that he or she poses a

concrete, prospective threat to public safety. United States v. Munchel, 991 F.3d 1273, 1279–80

(D.C. Cir.), judgment entered, 844 F. App'x 373 (D.C. Cir. 2021). Further, in the absence of a

concrete, prospective threat to public safety that cannot be mitigated by strict conditions, this Court

should be guided by “the default rule favoring liberty.” See United States V. Cua, No. CR 21-107

(RDM), 2021 WL 918255, at *8 (D.D.C. Mar. 10, 2021); see also Salerno, 481 U.S. at 755, 107




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S.Ct. 2095 (“In our society liberty is the norm, and detention prior to trial or without trial is the

carefully limited exception.”).

        Mr. Krol is not a danger to the community. Mr. Krol is, in fact, a benefit to the community.

His involvement in disaster relief, the Flint Water Crisis, continual volunteer work, etc.

demonstrates that he has been a consistent positive impact on not only his community, but the

world. His actions on January 6th, 2021, were a true anomaly and should not be construed as being

a part of his character.

        Mr. Krol’s impact does not end with his involvement in his community, but rather extends

deeply into his relationships with his family and friends. As you will read in the attached twelve

letters, you will discover that Matthew Krol is an exceptional man with outstanding character and

morals. He has been described as honest, trustworthy, loving, peaceful, and many other things.

        Jerome Barry III wrote, “I know him [Mr. Krol] to be a peaceful person… I have never

known his behavior to be aggressive or violent.” (Exhibit C)

        Steve Adams added that “Matt is and always will be a great man that I look up to and

appreciate.” (Exhibit H)

        Kennard Van Camp wrote that Mr. Krol is “honest and forthcoming… I am proud to know

him.” (Exhibit M)

        Reverend Timothy J. Thomas believes that “Matthew is a man of fine character and

integrity.” Reverend Thomas also refers to Mr. Krol as having a “loving disposition” and being

“courageous and loyal.” Further, he has “never known Matt to be violent or destructive.” (Exhibit

F)

        Phillip and Lori Cenzer “have always known Matthew Krol as a loyal, generous and loving

man.” (Exhibit J)




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        These excerpts from the letters demonstrate that Mr. Krol is not the dangerous man the

government is painting him to be. The people who know Mr. Krol can attest that he is an

upstanding citizen who cares greatly for everyone in his life and anyone who is suffering.

              D.    NATURE AND CIRCUMSTANCES OF THE OFFENSES CHARGED

        Mr. Krol argues that he is not a danger based upon the six advisory “guideposts” articulated

in United States v. Chrestman, No. 21-mj-218 (ZMF), 2021 WL 765662 (D.D.C. Feb 26, 2021),

for assessing the comparative culpability of a given defendant in relation to others on January 6,

2021. The guideposts are as follows: (1) whether the defendant has been charged with felony or

misdemeanor offenses; (2) the extent of the defendant’s prior planning; (3) whether the defendant

used or carried a dangerous weapon; (4) evidence of coordination with other protestors before,

during, or after the riot; (5) whether the defendant played a leadership role in the events of January

6, 2021; and (6) the defendant’s words and movements during the riot”—e.g., whether the

defendant “remained only on the grounds surrounding the Capitol” or stormed into the Capitol

interior, or whether the defendant “injured, or attempted to injure, or threatened to injure others.”

Id. at 7-8.

        Before discussing the Chrestman Guidepost factors, it should be noted that these factors

are designed only to display a person’s dangerousness based on January 6th, 2021, completely

disregarding a person’s character on a regular calendar day. The Chrestman factors unfairly reward

the Government by requiring defendants to argue issues that should be argued at trial. Instead,

defendants are forced to argue factors for pretrial release that ultimately may not weigh in their

favor and that are designed to keep individuals detained irrespective of the Bail Reform Act.

Defendant objects to the use of the Chrestman factors. Nonetheless, they are assessed as follows:

              CHRESTMAN GUIDEPOST 1: Whether Defendant has been charged with
              felony or misdemeanor offenses.



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     Mr. Krol has been indicted on several felony charges. Mr. Krol has an extremely limited

criminal history from his early years. This is the first time he has ever been charged with a felony

or a crime of violence and he is, without question, presumed innocent of all charges even though

the Chrestman guideposts reward the Government simply by charging Mr. Krol in the indictment.

Of course, using this analysis, the very charges against Mr. Krol weigh against him. Nothing in

the Bail Reform Act “shall be construed as modifying or limiting the presumption of innocence.”

18 U.S.C. 3142(j).

     This factor should not be weighed in favor of pretrial detention but should instead be

eliminated as the charges against Mr. Krol should not limit his presumption of innocence. The

extent to which Mr. Krol has defenses available to him is more appropriately considered at trial or

in other pre-trial motions.

     In context, it is respectfully submitted that this factor should not be weighed in favor of either

party.

           CHRESTMAN GUIDEPOST 2: The extent of the Defendant’s prior planning.

     Mr. Krol was within his every right to travel to Washington, D.C. for what he believed would

be a peaceful protest. Mr. Krol did in fact plan to travel to Washington, D.C. to attend a rally for

former President Donald J. Trump, but in no way planned on criminal conduct. Mr. Krol has a

concealed carry license and approximately ten guns. If he had planned on criminal conduct, he

certainly would have planned to bring his weapons or tactical gear. Instead, he arrived in D.C.

weaponless. The Government argued at the initial detention hearing (with no support) that he

planned on criminal conduct before his arrival in D.C.

     In context, this factor weighs in favor of pretrial release.

           CHRESTMAN GUIDEPOST 3: Whether Defendant used or carried a
           dangerous weapon.



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        For purposes of this motion, Defendant Krol will not contest that he was briefly in

possession of a baton. Clearly there are trial issues related to the baton which remain unresolved.

Nonetheless, the video footage appears to show that Mr. Krol handled a police baton similar to the

batons that officers were using to beat protestors. A reasonable interpretation of events could

include a determination that the protesters on the ground were helpless and in need of assistance.

Mr. Krol is someone who is inclined to assist people who need help. Even if the perception that

Mr. Krol was coming to the aid of others in need finds no support or sympathy with a jury or with

this Court, those perceptions constitute the reality that explains his 36 seconds of behavior. When

challenged with video during his interrogation by the FBI, he stated, “What happened 15 minutes

before?” (Detention Hearing Recording @37 minutes) (Exhibit N). This question provides the

context on which 36 seconds of activity should be considered, at least for the purpose of this

motion.

        In context, this factor should be adjudged as not favoring either party.

            CHRESTMAN GUIDEPOST 4: Evidence of coordination with other protestors
            before, during, or after January 6th.

      While Mr. Krol certainly was within his right to plan with two others to attend the rally

together, there was no coordination before, during or even after January 6th to incite violence or

participate in criminal activity.

      In context, this factor weighs in favor of pretrial release.

            CHRESTMAN GUIDEPOST 5: Whether Defendant played a leadership role in
            the events of January 6th, 2021.

      Mr. Krol simply planned to attend a peaceful protest. Mr. Krol did not have a leadership role

in the January 6, 2021, events, nor is he a member of any extremist organizations, any group that

supports violence against the government, or any other hate group. Mr. Krol did not make any




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statements before, during, or after January 6th which would suggest he had any leadership role in

the protest nor is there any evidence to support that Mr. Krol played a leading role.

     In context, this factor weighs in favor of pretrial release. Also, it should be noted that the

Judge from the initial detention hearing stated on the record that Chrestman Guideposts four and

five do not weigh in favor of the Government.

           CHRESTMAN GUIDEPOST 6: The Defendant’s words and movements during
           the riot—e.g., whether the defendant “remained only on the grounds surrounding
           the Capitol” or stormed into the Capitol interior, or whether the defendant
           “injured, or attempted to injure, or threatened to injure others.”

       Mr. Krol’s cell phone location for January 6th, 2021, places him “in or immediately around

 the U.S. Capitol Building from 1:42 p.m. through 3:01 p.m.” Statement of Facts page 19 of 20.

 (Exhibit O) His total time at the Capitol, then, appears to be 1 hour and 19 minutes. With the

 exception of the 36 seconds of controversial behavior, Mr. Krol’s behavior at the Capitol is

 consistent with the right of citizens to present their grievances to their government in a peaceful

 manner. This cannot be overstated. He arrived without weapons or even symbols of violent

 protest. He behaved appropriately before and after the offenses charged. He did not enter the

 Capitol or destroy barricades. He apparently disposed of the baton in a waste receptacle before

 leaving the Capitol grounds. Arguably, this was to avoid the baton being used for future

 wrongdoing by others.

       It is acknowledged that one of the officer’s alleged that Mr. Krol injured him when he

 struck the officer with the baton. The defense has not been presented with any evidence to

 support that claim. This officer appears to have sustained serious injuries at the hands of others

 far more violent during the activities in the tunnel. Mr. Krol was not in the tunnel and the officer




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     made a less than affirmative statement regarding Mr. Krol in his interview.13 (Exhibit P) It has

     not been asserted that the injury required medical attention.

 VI.       RESPONSE TO GOVERNMENT ARGUMENTS FOR PRETRIAL DETENTION

          A bond hearing is not a substitute for trial and is not supposed to be a pretrial opinion on

the alleged charges. Opposition arguments to pretrial release are not a dry run for the Government

to try to convict defendants or to label defendants terrorist and insurrectionist to poison the D.C.

jury pool before trial begins (Case 1:22-cr-00230-RC, Document 21, Page 2 of 23).

          During the initial pretrial detention hearing, the Government was quick to label Mr. Krol

as a violent individual in an environment of escalation. And yet, it is more accurately stated that

the behavior complained of is anomaly rather than escalation. As demonstrated, Mr. Krol has an

extremely limited criminal history from his youth. Although he came to the Capitol to make his

voice be heard, as is his right, Mr. Krol’s behavior which forms the basis of this prosecution was

not in furtherance of his political objectives. Right or wrong, he was responding to what he

believed was excessive use of force by the police.

          The Government showed a carefully calculated selected portion of a video during the

detention hearing which only showed Mr. Krol wrestling the baton from an officer, and it was not

until the Defense played the first few seconds of the video that you could understand the entire

context surrounding Mr. Krol’s actions. In the video, you can very clearly hear a bystander

repeating “cops are beating the fuck out of that guy.” From the in-depth discussion of Mr. Krol’s

character as evidenced by the numerous support letters, Mr. Krol’s main character trait is his

compassion for others and his quickness to run towards those who need help. Mr. Krol pushed his

way to the front of the line, despite his health issues, to defend rally attendees suffering from what



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  “At approximately the thirty second mark, he can be observed striking GONELL. GONELL believes that this strike
injured his hand.” Case Specific Discovery Document 266T-DE-3443278 Serial 38 page 7 of 8.


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appeared to be an excessive use of force by police. Whether defense of others is ultimately an issue

at trial in this matter is a conversation for another day. Whether Mr. Krol accurately assessed the

situation in the heat of the moment is also a conversation for another day.

       The Government referenced the FBI interrogation of Mr. Krol on the date of arrest and

maintained that while he did not “confess” he made several statements representative of a

“confession.” For example, the Government stated that when presented with video of Mr. Krol on

January 6th, attempting to take the baton from the officer, Mr. Krol asked the agents “what

happened 15 minutes before?” (Exhibit Q) This question evidences a layman’s request that actions

be taken in context. The 36 seconds are a reality to be considered. But they should be considered

in the context of his 64 years of non-violence. Additionally, the 36 seconds should be considered

in the context of what Mr. Krol observed immediately before.

                         OCTOBER 2021 BORDER PATROL STOP

       Mr. Krol was stopped by border patrol during an attempt to reenter the United States after

attending his son’s wedding in Bruma Valle de Guadalupe, Baja California. Mr. Krol understood

that he was being stopped for reasons relating to the events on January 6th, 2021. He was upset

when his entire family was asked to exit their vehicle and were then handcuffed. Mr. Krol was

interrogated by the officers and expressed concern for the way other January 6th defendants were

being treated in comparison to groups such as ANTIFA and BLM.

       The Government has asserted that Mr. Krol’s demeanor during this interrogation was

abrasive; faulting him for saying that he was “pissed.” They neglected to tell the Court that the

“NSU Officers thanked KROL for being courteous and cooperative throughout the time he was

detained.” They further stated that “[w]hile he was visibly upset about being detained and all the

scrutiny he has been through recently with TSA and when traveling abroad, he was complacent

and respectful toward CBP and NSU Officers.” (Case Specific Discovery Document 266t-DE-


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3443278 Serial 36 page 3 of 3) (Exhibit R) This observation after a prolonged detention of his

entire family tells us more about any propensity for violence than the 36 seconds at issue here.

                      VII.    PROPOSED CONDITIONS OF RELEASE

       If released, Mr. Krol would return to his wife in Michigan, where he has not faced criminal

allegations in over 40 years. He would obey any Court orders regarding home detention, computer

monitoring, regular check-ins, and avoidance of political activities or gatherings, or any other

conditions of release this court deems appropriate. These conditions would eliminate any potential

concerns that this Court or the government might have. Further, nothing about Mr. Krol’s history

suggests an unwillingness or inability to follow orders of the court or conditions of release. Mr.

Krol is more than willing to surrender his passport if granted pretrial release.

                                      VIII. CONCLUSION

       WHEREFORE, for the foregoing reasons, and any others which may appear in our reply

brief at a full hearing on this matter, and any others this Court deems just and proper, Defendant

through counsel, respectfully requests that he be released on personal recognizance. If that request

is denied, Defendant requests as an alternative, that he be released on Third Party Custody and

placed into Highly Intensive Supervision Program of the Pretrial Services Agency conditioned on

reasonable conditions including but not limited to electronic monitoring, work release, and curfew.



Respectfully submitted:



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Michael J Cronkright (P52671)
Cronkright Law, PLLC
4601 W. Saginaw, Ste. J2A
Lansing, MI 48917
Phone (517) 881-4643
Michael@Cronkrightlaw.com


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